                Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 1 of 7 PageID #: 5
Case Number: NC-2022-0167
Filed in Newport County Superior Court
                                                                   EXHIBIT
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.
                                                                         A

                   STATE OF RHODE ISLAND                                            SUPERIOR COURT
                   NEWPORT, SC.

                   BROWN & HOWARD YACHT MARINA, LLC
                       Plaintiff,

                   V.                                                               C.A.No.:

                   EVANSTON INSURANCE COMPANY and
                   MARKEL AMERICAN INSURANCE COMPANY
                       Defendants.

                                                   COMPLAINT AND JURY DEMAND


                                                                  PARTIES

                    I.         Plaintiff, Brown & Howard Yacht Marina, LLC is domestic limited liability company with

                   an address of 100 Westminster Street, Suite 1700, Providence, RI 02903.

                   2.          Defendant, Evanston Insurance Company, is a foreign property and casualty insurance

                   company with an address of 10275 W. Higgins Road, Suite 750, Rosemont, IL 60018.

                   3.          Defendant, Markel American Insurance Company, is a foreign property and casualty

                   insurance company with an address of 10275 W. Higgins Road, Suite 750, Rosemont, IL 60018.

                                                       JURISDICTION AND VENUE

                   4.          This Court has jurisdiction over this matter under R.I. Gen. Laws § 8-2-14 as this is an

                   action at law in which the amount in controversy exceeds $10,000.00.

                   5.          Venue in this Court is proper under§ 9-4-1 et seq.

                                                                   FACTS

                   6.          Plaintiff owns property located at 33 Brown & Howard Wharf, Newport, Rhode Island

                   (herein after "the Property")

                   7.          Defendants insured the Property at all relevant times with policy numbers 9CE0353-0 and

                   9CE0353-l (hereinafter collectively "the Policy").



                    1224913.1
                Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 2 of 7 PageID #: 6
Case Number: NC-2022-0167
Filed in Newport County Superior Court
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.



                     8.        At all relevant times, Plaintiff paid all premiums owed for the Policy.

                     9.        At all relevant times, Plaintiff complied with all terms and conditions contained in the

                     Policy.

                     10.       The Property sustained damage on or about June 15, 2020.

                     1I.       Plaintiff filed a claim with Defendants under the Policy for damage sustained to the

                     Property (herein after "the Claim" and "the Loss").

                     12.       Defendants assigned a date ofloss ofJune 15, 2020.

                     13.       Defendants assigned claim number M3596.

                     14.       Defendants covered the Claim under the Policy.

                     15.       Defendants failed to undertake a prompt and timely investigation into the Claim.

                     16.       Defendants delayed the adjustment of the Claim.

                     17.       Defendants failed to evaluate all of the damages sustained as a result of the Loss.

                     18.       Defendants failed to fully and fairly indemnify Plaintiff for all of the damages sustained as

                     a result of the Loss.

                     19.       Defendants forced Plaintiff to demand appraisal.

                     20.       Defendants failed to timely respond to the demand for appraisal.

                     21.       Defendants delayed the Claim, yet refused to enter into a tolling agreement.

                     22.       Defendants repeatedly failed to timely respond to Plaintiffs correspondence.

                     23.       Defendants owe Plaintiff additional monies under the Policy for the damages sustained as

                     a result of the Loss.

                                                                   COUNTI
                                                              (Breach of Contract)

                      24.      Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained in

                      paragraphs 1 through 23, as if expressly rewritten and set forth herein.


                                                                         2
                Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 3 of 7 PageID #: 7
Case Number: NC-2022-0167
Filed in Newport County Superior Court
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.



                   25.       The Policy constitutes a valid contract between Plaintiff and Defendants.

                   26.       At all relevant times, Plaintiff fulfilled its obligations under the contract.

                   27.       Defendants breached their obligations under the contract by failing to fully and fairly

                   indenmify Plaintiff and pay Plaintiff all amounts owed as a result of the Loss.

                    28.      Defendants breached their obligations under the contract by failing to comply with the

                   demand for appraisal

                    29.      As a direct and proximate result of Defendants' breaches of the contract, Plaintiff suffered

                    and continues to suffer damages for which Defendants are liable.

                              WHEREFORE, Plaintiff demands that judgment be entered on its behalf against

                    Defendants in the maximum amount allowed by law, plus interest, cost, and attorney's fees and all

                    other amount which are recoverable by law. Furthermore, Plaintiff demands judgment against

                    Defendants in an amount that will adequately compensate Plaintiff for its damages and losses,

                    together with interest and costs.

                                                                 COUNT II
                                         (Breach of Implied Covenant of Good Faith and Fair Dealing)

                    30.       Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained in

                    paragraphs 1 through 29, as if expressly rewritten and set forth herein.

                    31.       Defendants, as a party to the contract, the Policy, made an implied covenant to Plaintiff to

                    deal fairly and act in good faith.

                    32.       Defendants breached the covenant by acting in bad faith by failing to undertake a prompt

                    and timely investigation, delaying the adjustment, failing to evaluate all of the damages, failing to

                    fully and fairly indemnify Plaintiff, forcing Plaintiff to demand appraisal, failing to timely respond

                     to the appraisal demand, refusing to enter into a tolling agreement and failing to timely respond to

                     Plaintiffs correspondence, amongst other acts and omissions.


                                                                         3
                Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 4 of 7 PageID #: 8
Case Number: NC~2022--0167
Filed in Newport County Superior Court
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.




                   33.       As a direct and proximate cause of Defendants' breach of the covenant, Plaintiff suffered

                   and continues to suffer damages for which Defendants are liable.

                             WHEREFORE, Plaintiff demands that judgment be entered on its behalf against

                   Defendants in the maximum amount allowed by law, plus interest, cost, and attorney's fees and all

                   other amount which are recoverable by law. Furthermore, Plaintiff demands judgment against

                   Defendants in an amount that will adequately compensate Plaintiff for its damages and losses,

                   together with interest and costs.

                                                             COUNT III
                                                        (Common Law Bad-Faith)

                    34.      Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained in

                    paragraphs 1 through 33, as if expressly rewritten and set forth herein.

                    35.      Defendants, in their authorized capacity to issue policies of insurance and by their

                    contractual relation with Plaintiff, have a duty to deal and act in good faith.

                    36.       Defendants acted and continue to act in bad faith by failing to undertake a prompt and

                    timely investigation, delaying the adjustment, failing to evaluate all of the damages, failing to fully

                    and fairly indenmify Plaintiff, forcing Plaintiff to demand appraisal, failing to timely respond to

                    the appraisal demand, refusing to enter into a tolling agreement and failing to timely respond to

                    Plaintiff's correspondence, amongst other acts and omissions.

                    37.       As a direct and proximate cause of Defendants' bad faith, Plaintiff suffered and continues

                    to suffer damages for which Defendants are liable.

                              WHEREFORE, Plaintiff demands that judgment be entered on its behalf against

                    Defendants in the maximum amount allowed by law, plus interest, cost, and attorney's fees and all

                    other amount which are recoverable by law. Furthermore, Plaintiff demands judgment against




                                                                       4
                Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 5 of 7 PageID #: 9
Case Number: NC-2022-0167
Filed in Newport County Superior Court
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.




                   Defendants in an amount that will adequately compensate Plaintiff for its damages and losses,

                   together with interest and costs.

                                                             COUNTIV
                               (Violations ofR.I. Gen. Laws §9-1-33 and R.I. Gen. Laws §27-9.1-1 e t ~

                   38.       Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained in

                   paragraphs I through 37, as if expressly rewritten and set forth herein.

                   39.       Defendants, in their authorized capacity to issue policies of insurance and by their

                   contractual relation with Plaintiff, have a duty to deal and act in good faith.

                    40.      Defendants acted and continue to act in bad faith because Defendants wrongfully refused

                    to pay for the Claim.

                    41.      Defendants acted and continues to act unfairly because Defendants misrepresented to

                    Plaintiff relevant facts or policy provisions relating to coverage at issue.

                    42.      Defendants acted and continue to act unfairly because Defendants failed to attempt in good

                    faith to promptly, fairly and equitably effectuate settlement of the Claim submitted to them where

                    liability is and has been reasonably clear.

                    43.      Defendants acted and continue to act unfairly because Defendants failed to acknowledge

                    and act with reasonable promptness upon pertinent communications with respect to claims arising

                    under the policies.

                    44.       Defendants acted and continue to act unfairly because Defendants compelled Plaintiff to

                    institute suit to recover amounts due under the Policy by offering substantially less than the amount

                    that will ultimately be recovered.

                    45.       Defendants acted and continue to act unfairly because Defendants refused to pay the Claim

                    without conducting a reasonable investigation.




                                                                       5
               Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 6 of 7 PageID #: 10
Case Number: NC-2022-0167
Filed in Newport County Superior Court
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.



                     46.       Defendants acted and continue to act unfairly because Defendants failed to affirm or deny

                     coverage of claims within a reasonable time after having completed their investigation related to

                     the Claim.

                     4 7.      Defendants acted and continue to act unfairly because Defendants failed to provide a

                     reasonable and accurate explanation for the basis of their position.

                     48.       The circumstances surrounding Defendants' refusal to pay the Claim involving the Loss

                     and the conduct of the Defendants, their agents, employees, and/or servants in the refusal to pay

                     the Loss are such to give rise to a claim for bad faith pursuant to R.I. Gen. Laws §9-1-33.

                     49.       The circumstances surrounding Defendants' refusal to pay the claim and their handling of

                     Plaintiffs Claim constitute unfair conduct in violation ofR.I. Gen. Laws §27-9.1-1 et seq.

                     50.       As a direct and proximate cause of Defendants' violations ofR.L Gen. Laws §9-1-33 and

                     R.L Gen. Laws §27-9.1-1 et seq., Plaintiff has suffered and continues to suffer damages for which

                     Defendants are liable.

                               WHEREFORE, Plaintiff demands that judgment be entered on its behalf against

                     Defendants in the maximum amount allowed under ofR.I. Gen. Laws §9-1-33, including but not

                     limited to compensatory damages, punitive damages, and attorneys' fees. Furthermore, Plaintiff

                     demands that judgment be entered on its behalf against Defendants for interest, costs, and all other

                     amounts which are recoverable by law.

                                                          DEMANDS FOR RELIEF

                               WHEREFORE, Plaintiff requests that the Court:

                             I.      Enter a judgment against Defendants declaring that the Defendants are legally and
                     financially responsible for the damages that Plaintiff sustained following the loss;

                            2.      Award Plaintiff compensatory damages against Defendants in an amount equal to
                     the damage it has incurred and suffered to its real and personal property, and loss of income,
                     following the loss;


                                                                       6
               Case 1:22-cv-00264-MSM-LDA Document 1-1 Filed 07/14/22 Page 7 of 7 PageID #: 11
Case Number: NC-2022-0167
Filed in Newport County Superior Court
Submitted: 6/14/2022 3:52 PM
Envelope: 3666664
Reviewer: Sandy L.



                             3.          Award Plaintiff its costs of suit, including attorneys' and expert witnesses' fees;

                             4.          Award Plaintiff interest, including, but not limited to, pre-judgment interest;

                             5.          Award Plaintiff punitive damages; and

                             6.          Fashion such other and further relief as the Court deems just and proper.

                                                                  JURYDEMAND

                          The Plaintiff, Brown & Howard Yacht Marina LLC, hereby demands a trial by jury on all
                   claims so triable.


                                                                        Respectfully submitted,
                                                                        The Plaintiff,
                                                                        Brown & Howard Yacht Marina LLC,
                                                                        By Its attorneys,

                                                                        Isl John A. Donovan III

                                                                        John A. Donovan III, No. 5707
                                                                        Judah H. Rome, No. 9711
                                                                        SLOANE AND WALSH, LLP.
                                                                        652 George Washington Highway, Suite 302
                                                                        Lincoln, RI 02865
                                                                        P: 401-495-6796
                                                                        JDonovan@sloanewalsh.com
                                                                        JRome@sloanewalsh.com

                    DATE: June 14, 2022




                                                                            7
